Case 2:10-cv-10978-PJD-MJH ECF No. 149, PagelD.1997 Filed 05/04/11 Page 1of4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

AMERICAN UNIVERSITY OF ANTIGUA COLLEGE
OF MEDICINE, a foreign corporation,

Plaintiff,
United States District Court Judge
Patrick J. Duggan, presiding
Michael Hluchaniuk, referral
Vv Case No.: 2:10-cv-10978

STEVEN L. WOODWARD,

 

 

 

Defendant.
Eric A. Buikema (P58379) STEVEN L. WOODWARD
CARDELLI, LANFEAR & BUIKEMA, P.C. | In Pro Per
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PLAINTIFF’S RESPONSE TO “DEFENSE RESPONSE TO ORDER REQUIRING
RESPONSE TO DEFENDANT’S MOTION TO COMPEL” (Docket No. 135)

Plaintiff American University of Antigua College of Medicine (“AUA”) states its
response to Defendant’s Motion “DEFENSE RESPONSE TO ORDER REQUIRING
RESPONSE TO DEFENDANT’S MOTION TO COMPEL” (Docket No. 135) as follows:

1, Defendant’s response to this Court’s order is frivolous.

2. Plaintiff responded to Defendant’s Motion to Compel on April 11, 2011 and

served this response on Defendant. (Docket No. 134).
Case 2:10-cv-10978-PJD-MJH ECF No. 149, PagelD.1998 Filed 05/04/11 Page 2 of 4

3. For the reasons Plaintiff will discuss in its response to Woodward’s Motion for
Sanctions (Docket No. 136) the substance of Defendant’s arguments are wholly without merit’.

4, Since the relief sought in the instant filing is entirely duplicative of Docket No.
136, the instant filing should be denied as moot.

5. If the Court were to construe Defendant’s filing as Objections pursuant to Fed. R.
Civ. P. 72, the instant motion must be denied as he fails to present any grounds to demonstrate
that the order is ‘clearly erroneous or is contrary to law.”

6. Nothing is clearly erroneous or contrary to law about the Court ordering that a
party respond to a motion.

7. Plaintiff requests that the Court sanction Defendant for filing this redundant
pleading, enter an award of costs and require that henceforth Defendant pay $20 to the Court
Clerk upon filing of any motion.

Respectfully submitted,

/s/ Eric A. Buikema (P58379)
Eric A. Buikema (P58379)
Cardelli, Lanfear & Buikema, P.C.
322 West Lincoln Avenue

Royal Oak, Michigan 48067

(248) 544-1100

ebuikema(@cardellilaw.com
Dated: May 4, 2011

CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing Plaintiff's Response to “Defense Response to
Order Requiring Response to Defendant’s Motion to Compel” (Docket No.1 35), Brief in

Support and this Certificate of Service were served upon Steven L. Woodward, Defendant, via

 

' Plaintiff notes that Defendant filed the same frivolous motion under two different headings. The Court has ample
authority under Fed. R. Civ. P. 12(8) to strike redundant matters from the record.

2
Case 2:10-cv-10978-PJD-MJH ECF No. 149, PagelD.1999 Filed 05/04/11 Page 3 of 4

his email address Steve _L_woodward@yahoo.com and First Class U.S. mail to Steven

Woodward, c/o 7211 Brittwood Lane, Flint, MI 48507 on May 4, 2011.

/s/ Eric A. Buikema

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Case 2:10-cv-10978-PJD-MJH ECF No. 149, PagelD.2000 Filed 05/04/11 Page 4 of 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

AMERICAN UNIVERSITY OF ANTIGUA COLLEGE
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BRIEF IN SUPPORT OF PLAINTIFF’S RESPONSE TO “DEFENSE
RESPONSE TO ORDER REQUIRING RESPONSE TO DEFENDANT'S
MOTION TO COMPEL” (DOCKET NO.1 33)

Plaintiff relies on its response and Fed. R. Civ. P. 72 in support of its response.
Respectfully submitted,

/s/ Eric A. Buikema (P58379)
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Dated: May 4, 2011

 
